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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATURAL RESOURCES DEFENSE                 )
COUNCIL, INC.,                            )
                                          )
                       Plaintiff,         )                  Civil Action No. 23-cv-982
                                          )
       v.                                 )
                                          )
GINA M. RAIMONDO, in her official         )
capacity as Secretary of the Department   )
of Commerce; JANET COIT, in her official  )
capacity as Assistant Administrator for   )
NOAA Fisheries; NATIONAL OCEANIC          )
AND ATMOSPHERIC ADMINISTRATION;           )
and NATIONAL MARINE FISHERIES SERVICE )
                                          )
               Defendants.                )
__________________________________________)

                            FEDERAL DEFENDANTS’ ANSWER

       Pursuant to Federal Rule of Civil Procedure 8, Gina M. Raimondo, acting in her official

capacity as Secretary of the Department of Commerce, Janet Coit, acting in her official capacity

as Assistant Administrator for NOAA Fisheries, National Oceanic and Administration, and

National Marine Fisheries Service (“NMFS”), collectively referred to as “Federal Defendants”,

hereby assert their answers and defenses to the Complaint filed by Plaintiff Natural Resources

Defense Council, Inc. The numbered paragraphs, headings, and subheadings of this Answer

correspond with the numbered paragraphs, headings, and subheadings in Plaintiff’s Complaint.

To the extent that those headings expressly or implicitly include substantive legal or factual

allegations, those allegations are hereby denied.

       The Federal Defendants’ responses to the Plaintiff’s Complaint are set forth below as

follows:


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          1.    The allegations contained in paragraph 1 constitute conclusions of law and

purport to characterize Plaintiff’s action, to which no response is required. To the extent a

response is required, Defendants deny the allegations.

          2.   The allegations contained in paragraph 2 purport to characterize Plaintiff’s action,

to which no response is required. To the extent a response is required, Defendants deny the

allegations.

          3.   The allegations contained in paragraph 3 purport to characterize Plaintiff’s action,

to which no response is required.

          4.   The allegations contained in the first sentence of paragraph 4 constitute

conclusions of law, to which no response is required. The allegations contained in the second

sentence of paragraph 4 purport to characterize provisions of the Magnuson-Stevens Act, which

speak for themselves and are the best evidence of their contents. Any allegations contrary to the

plain language, meaning, and context of those provisions of the Magnuson-Stevens Act are

denied.

          5.   In response to the allegations contained in the first sentence of paragraph 5,

Defendants admit that NMFS published a final rule implementing Framework Adjustment 17 to

the Summer Flounder, Scup, and Black Sea Bass Fishery Management Plan and Framework

Adjustment 6 to the Bluefish Fishery Management Plan on March 9, 2023. Except as expressly

admitted herein, Defendants deny the allegations contained in the first sentence of paragraph 5.

The allegations contained in the second sentence of paragraph 5 purport to characterize

Plaintiff’s action, to which no response is required.




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       6.      The allegations contained in paragraph 6 constitute conclusions of law, to which

no response is required.

       7.      The allegations contained in paragraph 7 constitute conclusions of law, to which

no response is required.

       8.      The allegations contained in paragraph 8 constitute conclusions of law, to which

no response is required.

       9.      Defendants lack information or knowledge sufficient to form an opinion as to the

truth of the allegations contained in paragraph 9 and deny them on that basis.

       10.     In response to the allegations contained in paragraph 10, Defendants admit that

Plaintiff NRDC submitted comments in response to the public notice on the proposed rule to

implement Framework Adjustment 17 to the Summer Flounder, Scup, and Black Sea Bass

Fishery Management Plan and Framework Adjustment 6 to the Bluefish Fishery Management

Plan. Defendants lack information or knowledge sufficient to form an opinion as to the truth of

the remaining allegations contained in paragraph 10 and deny them on that basis.

       11.     Defendants lack information or knowledge sufficient to form an opinion as to the

truth of the allegations contained in paragraph 11 and deny them on that basis.

       12.     Defendants lack information or knowledge sufficient to form an opinion as to the

truth of the allegations contained in first, second, third, and fourth sentences of paragraph 12, and

deny them on that basis. The allegations contained in the fifth and sixth sentences of paragraph

12 constitute conclusions of law, to which no response is required.

       13.     The allegations contained in paragraph 13 constitute conclusions of law, to which

no response is required. To the extent a response is required, Defendants deny the allegations

contained in paragraph 13.



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       14.     a. Defendants admit the allegation contained in the first sentence of paragraph 14a

that Gina M. Raimondo is the Secretary of the U.S. Department of Commerce, and further aver

that the balance of allegations contained in paragraph 14a constitute conclusions of law, to which

no response is required.

       14.     b. In response to the allegations contained in the first sentence of paragraph 14b,

Defendants aver that the National Oceanic and Atmospheric Administration is a sub-agency

within the Department of Commerce, and further avers that the balance of allegations contained

in paragraph 14b constitute conclusions of law, to which no response is required.

       14.     c. Defendants admit the allegation contained in the first sentence of paragraph 14c

that Janet Coit is the Assistant Administrator for NOAA Fisheries, and further aver that the

balance of allegations contained in paragraph 14a constitute conclusions of law, to which no

response is required.

       14.     d. In response to the allegations contained in the first sentence of paragraph 14d,

Defendants aver that the National Marine Fisheries Service is a line office within NOAA, and

further avers that the balance of allegations contained in paragraph 14b constitute conclusions of

law, to which no response is required.

       15.     The allegations contained in paragraph 15 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

       16.     The allegations contained in paragraph 16 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their




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contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

       17.     The allegations contained in paragraph 17 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

       18.     The allegations contained in paragraph 18 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.19.        Defendants admit the allegations

contained in the first sentence of paragraph 19. The allegations contained in the second sentence

of paragraph 19 purport to characterize provisions of the Magnuson-Stevens Act, which speak

for themselves and are the best evidence of their contents. Any allegations contrary to the plain

language, meaning, and context of those provisions of the Magnuson-Stevens Act are denied.

Defendants deny the allegations contained in the third sentence of paragraph 19.

       20.     The allegations contained in paragraph 20 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

       21.     The allegations contained in paragraph 21 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.



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          22.   The allegations contained in paragraph 22 purport to characterize provisions of

the Magnuson-Stevens Act and its regulatory guidelines, which speak for themselves and are the

best evidence of their contents. Any allegations contrary to the plain language, meaning, and

context of those provisions of the Magnuson-Stevens Act and its regulatory guidelines are

denied.

          23.   The allegations contained in paragraph 23 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

          24.   The allegations contained in paragraph 24 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

          25.   The allegations contained in the first sentence of paragraph 25 are too vague and

ambiguous to permit a response and are therefore denied. In response to the allegations contained

in the second sentence of paragraph 25, Defendants aver that the allegations regarding

“overfishing challenges” are too vague and ambiguous to permit a response and are therefore

denied. The remaining allegations contained in the second sentence of paragraph 25 purport to

characterize amendments to the Magnuson-Stevens Act, which speak for themselves and are the

best evidence of their contents. Any allegations contrary to the plain language, meaning, and

context of those provisions of amendments to the Magnuson-Stevens Act are denied.

          26.   In response to the allegations in paragraph 26, Defendants admit that the

Magnuson-Stevens Act was amended in 2006 and aver that the remaining allegations purport to



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characterize Magnuson-Stevens Act amendments, which speak for themselves and are the best

evidence of their contents. Any allegations contrary to the plain language, meaning, and context

of those amendments to the Magnuson-Stevens Act are denied.

          27.   The allegations contained in the first sentence of paragraph 27 purport to

characterize provisions of the Magnuson-Stevens Act, which speak for themselves and are the

best evidence of their contents. Any allegations contrary to the plain language, meaning, and

context of those provisions of the Magnuson-Stevens Act are denied. Defendants deny the

allegations contained in the second sentence of paragraph 27. The allegations contained in the

third sentence of paragraph 27 purport to characterize provisions of the Magnuson-Stevens Act,

which speak for themselves and are the best evidence of their contents. Any allegations contrary

to the plain language, meaning, and context of those provisions of the Magnuson-Stevens Act are

denied.

          28.   The allegations contained in the first sentence of paragraph 28 are too vague and

ambiguous to permit a response and are therefore denied. The allegations contained in the second

sentence of paragraph 29 purport to characterize a judicial opinion, which speaks for itself and is

the best evidence of its contents. Any allegations contrary to the plain language, meaning, and

context of the judicial opinion is denied.

          29.   The allegations contained in the first and second sentences of paragraph 29

purport to characterize provisions of the Magnuson-Stevens Act, which speak for themselves and

are the best evidence of their contents. Any allegations contrary to the plain language, meaning,

and context of those provisions of the Magnuson-Stevens Act are denied. The allegations

contained in the third sentence of paragraph 29 purport to characterize provisions of the

Magnuson-Stevens Act regulatory guidelines, which speak for themselves and are the best



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evidence of their contents. Any allegations contrary to the plain language, meaning, and context

of those provisions of the Magnuson-Stevens Act regulatory guidelines are denied.

       30.     The allegations contained in the paragraph 30 purport to characterize provisions

of the Magnuson-Stevens Act, associated legislative history, and a Federal Register notice,

which speak for themselves and are the best evidence of their contents. Any allegations contrary

to the plain language, meaning, and context of those provisions of the Magnuson-Stevens Act,

associated legislative history, and a Federal Register notice are denied.

       31.     The allegations contained in the first and second sentences of paragraph 31

purport to characterize provisions of the Magnuson-Stevens Act, which speak for themselves and

are the best evidence of their contents. Any allegations contrary to the plain language, meaning,

and context of those provisions of the Magnuson-Stevens Act are denied. The allegations

contained in the third sentence of paragraph 31 purport to characterize provisions of Magnuson-

Stevens Act regulatory guidelines, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act regulatory guidelines are denied.

       32.     The allegations contained in the first two sentences of paragraph 32 constitute

conclusions of law, to which no response is required. Defendants admit the allegations contained

in the third sentence of paragraph 32. The allegations contained in the fourth sentence of

paragraph 32 constitute conclusions of law, to which no response is required.

       33.     The allegations contained in paragraph 33 purport to characterize provisions of

the Magnuson-Stevens Act regulatory guidelines, which speak for themselves and are the best

evidence of their contents. Any allegations contrary to the plain language, meaning, and context

of those provisions of the Magnuson-Stevens Act regulatory guidelines are denied.



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       34.     The allegations contained in the first and third sentences of paragraph 34 are too

vague and ambiguous to permit a response and are therefore denied. Defendants admit the

allegations contained in the second sentence of paragraph 34.

       35.     The allegations contained in the first sentence of paragraph 35 are too vague and

ambiguous to permit a response and are therefore denied. The allegations contained in the second

sentence of paragraph 35 purport to characterize the cited document, which speaks for itself and

is the best evidence of its contents. Any allegations contrary to the plain language, meaning, and

context of the cited document are denied.

       36.     The allegations contained in paragraph 36 purport to characterize provisions of

the Modernizing Recreational Fisheries Management Act of 2018, which speak for themselves

and are the best evidence of their contents. Any allegations contrary to the plain language,

meaning, and context of those provisions of the Modernizing Recreational Fisheries

Management Act of 2018 are denied.

       37.     The allegations contained in paragraph 37 purport to characterize provisions of

the Modernizing Recreational Fisheries Management Act of 2018, which speak for themselves

and are the best evidence of their contents. Any allegations contrary to the plain language,

meaning, and context of those provisions of the Modernizing Recreational Fisheries

Management Act of 2018 are denied.

       38.     The allegations contained in paragraph 38 purport to characterize provisions of

the Administrative Procedure Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Administrative Procedure Act are denied.




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       39.     The allegations contained in the first sentence of paragraph 39 purport to

characterize provisions of the Administrative Procedure Act, which speak for themselves and are

the best evidence of their contents. Any allegations contrary to the plain language, meaning, and

context of those provisions of the Administrative Procedure Act are denied. The allegations

contained in the second sentence of paragraph 39 purport to characterize a judicial opinion,

which speaks for itself and is the best evidence of its contents. Any allegations contrary to the

plain language, meaning, and context of the judicial opinion are denied.

       40.     Defendants admit the allegations contained in paragraph 40.

       41.     Defendants admit the allegations contained in the first sentence of paragraph 41.

The allegations contained in the second sentence of paragraph 41 purport to characterize the

Atlantic States Marine Fisheries Commission interstate compact, Pub. L. No. 77-539 (1942), as

amended by Pub. L. No. 81-721 (1950), which speaks for itself and is the best evidence of its

content. Defendants deny the allegations to the extent they are inconsistent with the plain

language, meaning, and context of the Atlantic States Marine Fisheries Commission interstate

compact. Defendants admit the allegations contained in the third sentence of paragraph 41.

       42.     The allegations contained in paragraph 42 are too vague and ambiguous to permit

a response and are therefore denied.

       43.     Defendants admit the allegations contained in the first sentence of paragraph 43.

Defendants deny the allegations contained in the second sentence of paragraph 43. Defendants

admit the allegations contained in the third and fourth sentences of paragraph 43. Defendants

admit that black sea bass was declared overfished in 1997 and declared rebuilt in 2009 and deny

the remaining allegations contained in the fifth sentence of paragraph 43. Defendants admit the




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allegations contained in the sixth sentence of paragraph 43. Defendants admit the allegations

contained in the seventh sentence of paragraph 43.

       44.     Defendants admit the allegations in the first sentence of paragraph 44. The

allegations contained in the second and third sentences of paragraph 44 purport to characterize

the Fishery Management Plan, which speaks for itself and is the best evidence of its content.

Defendants deny the allegations to the extent they are inconsistent with the plain language,

meaning, and context of the Fishery Management Plan. In response to the allegations contained

in the fourth sentence of paragraph 44, Defendants aver that in 2011 NMFS approved

Amendment 15 to the Mid Atlantic Fishery Management Council’s Summer Flounder, Scup, and

Black Sea Bass Fishery Management Plan. The remaining allegations contained in the fourth

sentence of paragraph 44 purport to characterize Amendment 15 to the Mid Atlantic Fishery

Management Council’s Summer Flounder, Scup, and Black Sea Bass Fishery Management Plan,

which speaks for itself and is the best evidence of its content. Defendants deny the allegations to

the extent they are inconsistent with the plain language, meaning, and context of Amendment 15

to the Mid Atlantic Fishery Management Council’s Summer Flounder, Scup, and Black Sea Bass

Fishery Management Plan Fishery Management Plan.

       45.     Defendants deny the allegations contained in paragraph 45.

       46.     Defendants deny the allegations contained in paragraph 46.

       47.     Defendants admit the allegations contained in the first two sentences of paragraph

47. Defendants deny the allegations contained in the third sentence of paragraph 47.

       48.     Defendants admit the allegations contained in the first sentence of paragraph 48.

The allegations contained in the second sentence of paragraph 48 purport to characterize a

Federal Register notice, which speaks for itself and is the best evidence of its content.



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Defendants deny the allegations to the extent they are inconsistent with the plain language,

meaning, and context of the Federal Register notice.

       49.     Defendants admit the allegations contained in paragraph 49.

       50.     The allegations contained in paragraph 50 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       51.     The allegations contained in paragraph 51 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       52.     The allegations contained in paragraph 52 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       53.     The allegations contained in paragraph 53 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       54.     The allegations contained in paragraph 54 purport to characterize a Federal

Register notice, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of the Federal Register notice.



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       55.     The allegations contained in paragraph 55 purport to characterize Federal Register

notices, which speak for themselves and are the best evidence of their content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of the Federal Register notices.

       56.     In response to the allegations contained in the first sentence of paragraph 56,

Defendants admit that Plaintiff submitted a comment letter in response to the Federal Register

notice for the Framework Adjustment 17 proposed rule and aver that the remaining allegations

contained in the first sentence of paragraph 56 purport to characterize Plaintiff’s comment letter,

which speaks for itself and is the best evidence of its content. Defendants deny the allegations to

the extent they are inconsistent with the plain language, meaning, and context of Plaintiff’s

comment letter. Defendants admit the allegations contained in the second sentence of paragraph

56. The allegations contained in the third sentence of paragraph 56 purport to characterize a

Scientific and Statistical Committee report, which speaks for itself and is the best evidence of its

content. Defendants deny the allegations to the extent they are inconsistent with the plain

language, meaning, and context of the Scientific and Statistical Committee report.

       57.     Defendants admit the allegations contained in the first sentence of paragraph 57.

The allegations contained in the second and third sentences of paragraph 56 purport to

characterize a memo, which speaks for itself and is the best evidence of its content. Defendants

deny the allegations to the extent they are inconsistent with the plain language, meaning, and

context of the memo.

       58.     Defendants deny the allegations in paragraph 58.

       59.     Defendants deny the allegations contained in the first sentence of paragraph 59.

The allegations contained in the second, third, fourth, fifth, and sixth sentences of paragraph 59



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purport to characterize an Environmental Assessment, which speaks for itself and is the best

evidence of its content. Defendants deny the allegations to the extent they are inconsistent with

the plain language, meaning, and context of the Environmental Assessment.

       60.      Defendants admit the allegations contained in the first sentence of paragraph 60.

The allegations contained in the second sentence of paragraph 60 purport to characterize a

Federal Register notice, which speaks for itself and is the best evidence of its content.

Defendants deny the allegations to the extent they are inconsistent with the plain language,

meaning, and context of the Federal Register notice.

       61.     Defendants incorporate their responses to paragraphs 1-60 above.

       62.     The allegations contained in paragraph 62 purport to characterize the Magnuson-

Stevens Act, which speaks for itself and is the best evidence of its content. Defendants deny the

allegations to the extent they are inconsistent with the plain language, meaning, and context of

the Magnuson-Stevens Act.

       63.     The allegations contained in paragraph 63 purport to characterize the Magnuson-

Stevens Act, which speaks for itself and is the best evidence of its content. Defendants deny the

allegations to the extent they are inconsistent with the plain language, meaning, and context of

the Magnuson-Stevens Act.

       64.     The allegations contained in paragraph 64 purport to characterize the Magnuson-

Stevens Act, which speaks for itself and is the best evidence of its content. Defendants deny the

allegations to the extent they are inconsistent with the plain language, meaning, and context of

the Magnuson-Stevens Act.

       65.     The allegations contained in paragraph 65 constitute conclusions of law, to which

no response is required.



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       66.     The allegations contained in paragraph 66 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       67.     The allegations contained in paragraph 67 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny

the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       68.     Defendants deny the allegations contained in paragraph 68.

       69.     Defendants deny the allegations contained in paragraph 69.

       70.     Defendants deny the allegations contained in paragraph 70.

       71.     Defendants deny the allegations contained in paragraph 71.

       72.     Defendants deny the allegations contained in paragraph 72.

       73.     Defendants deny the allegations contained in paragraph 73.

       74.     Defendants deny the allegations contained in paragraph 74.

       75.     Defendants incorporate their responses to paragraphs 1-74 above.

       76.     The allegations contained in paragraph 76 purport to characterize provisions of

the Magnuson-Stevens Act, which speak for themselves and are the best evidence of their

contents. Any allegations contrary to the plain language, meaning, and context of those

provisions of the Magnuson-Stevens Act are denied.

       77.     The allegations contained in paragraph 77 purport to characterize Framework

Adjustment 17, which speaks for itself and is the best evidence of its content. Defendants deny




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the allegations to the extent they are inconsistent with the plain language, meaning, and context

of Framework Adjustment 17.

       78.       Defendants deny the allegations contained in paragraph 78.

       79.       Defendants deny the allegations contained in paragraph 79.

       80.       Defendants deny the allegations contained in paragraph 80.

       81.       Defendants deny the allegations contained in paragraph 81.

       82.       Defendants deny the allegations contained in paragraph 82.

       83.       Defendants deny the allegations contained in paragraph 83.

                                      PRAYER FOR RELIEF

       The remaining paragraphs comprise Plaintiff’s request for relief, to which no response is

required. To the extent a response is deemed required, Defendants deny that Plaintiff is entitled

to the relief requested or any relief whatsoever.

                                        GENERAL DENIAL

       Any allegation not specifically admitted, denied, or qualified in the foregoing Answer is

hereby denied.

                                    AFFIRMATIVE DEFENSES

       Without limiting or waiving any defenses available, Federal Defendants hereby assert the

following defenses:

       1.        Plaintiff lacks standing.

       2.        Some or all of Plaintiff’s claims fail to state a claim upon which relief can be

granted.

       3.        To the extent Plaintiff purports to challenge proposed recreational management

measures for the upcoming 2023 fishing season, see Recreational Management Measures for the



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Summer Flounder, Scup, and Black Sea Bass Fisheries; Fishing Year 2023, 88 Fed. Reg. 19,046

(Mar. 30, 2023) (proposed rule), some of Plaintiff’s claims are unripe.

       Respectfully submitted, this 23rd day of June, 2023.


                                                     TODD KIM
                                                     Assistant Attorney General
                                                     Environment & Natural Resources Division
                                                     United States Department of Justice

                                                     /s/ Mark Arthur Brown
                                                     MARK ARTHUR BROWN
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   Of Counsel:

   John Almeida, Attorney-Advisor
   NOAA Office of General Counsel
   Gloucester, Massachusetts

                                CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2023, a copy of the foregoing was served by electronic

means on all counsel of record by the Court’s CM/ECF system.

                             /s/ Mark Arthur Brown
                              MARK ARTHUR BROWN




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